  Case 09-31457             Doc 18       Filed 09/22/09 Entered 09/22/09 13:45:17                         Desc Main
                                           Document     Page 1 of 1


                              IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                        CHARLOTTE DIVISION
                                          CASE NO. 09-31457
                                             CHAPTER 13
                                                    :
In Re:
YURII KOROTKOV and                                              : NOTICE OF APPEARANCE PURSUANT TO
IRYNA PAVLOVNA KOROTKOV,                                        : BANKRUPTCY RULE 9010 (b) AND REQUEST
                                                                : FOR NOTICES UNDER BANKRUPTCY RULE 2002
                                                                :
                                           Debtors.             :

                                    To the Clerk of the United States Bankruptcy Court:

         PLEASE TAKE NOTICE and pursuant to Bankruptcy Rule 9010 (b) enter the appearance of:

                  ANGEL R. GORDON
                  Johnson & Freedman, LLC
                  1587 Northeast Expressway
                  Atlanta, GA 30329
                  (770) 234-9181

                  With copy to:
                  SunTrust Mortgage, Inc.
                  P O Box 27767
                  Richmond, VA 23261


         as counsel for SunTrust Mortgage, Inc., its successors and/or assigns , a creditor of the above
         named Debtors .

                                             CERTIFICATE OF SERVICE
         The undersigned certifies that (s)he did on the date set forth below, serve this notice by electronic
         transmission or first class U.S. mail, postage prepaid, to the following:

  Matthew H. Crow, Esq.                                           Warren L. Tadlock, Chapter 13 Trustee
  315-B North Main Street                                         4600 Park Road, Suite 101
  Monroe, NC 28112                                                Charlotte, NC 28209

REQUEST is further made by counsel that all Notices required to be given to parties in interest pursuant to Bankruptcy
Rule 2002 be mailed to counsel.

                 This, the 21st day of September, 2009

                                                         /S/ ANGEL GORDON
                                                         ANGEL GORDON, NC Bar No. 24996
                                                         Johnson & Freedman, LLC
                                                         1587 Northeast Expressway
                                                         Atlanta, GA 30329
                                                         (770) 234-9181, ext. 1348




221.0814457NC / ncpoc
